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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO

In re:                                             Chapter 7
                                                   Case No. 1:18-bk-12585
Suzanne Bair,
                                                   Judge Beth A. Buchanan
                Debtor.



Barestone, LLC, et al.                             ADV. PRO. NO. 1:18-ap-01062

                Plaintiffs

         v.

Suzanne Bair,

                Defendant-Debtor.

              NOTICE OF DEBTOR’S MOTION FOR SUMMARY JUDGMENT

         Please take NOTICE that the attached Motion for Summary Judgement has been filed by

Suzanne Bair with the Bankruptcy Court.

         Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you

may wish to consult one.

         If you do not want the Court to grant the Motion for Summary Judgement, then, on or

before twenty-one days after the date of the certificate of service of the Motion, you must file

with the Court explaining your position by mailing your response to:

         Clerk of United States Bankruptcy Court
         Atrium Two, Suite 800
         221 East Fourth Street
         Cincinnati, Ohio 45202
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OR, your attorney must file a response using the Court’s ECF System.

The Court must receive your response on or before the above date. You must also send a copy of
your response either (1) by the Court’s ECF System or (2) through regular U.S. Mail to:

          Brian R. Radden
          Buecher Haffer Meyers & Koenig Co., LPA
          105 East 4th Street, Suite 300
          Cincinnati, OH 45202

          The undersigned will present to the Court a proposed order granting the Motion for

Summary Judgement unless, within twenty-one (21) days after the service date set forth on the

attached certificate of service, a written memorandum in opposition along with a request for a

hearing is filed with the Court and served on the undersigned. Failure to file a response and

accompanying memorandum on a timely basis may be cause for the Court to grant the Motion as

filed without further notice. Furthermore, notice is given that, if the attached request seeks relief

from the stay or acts against property of the estate, such stay will terminate with respect to the

requesting party unless, within thirty (30) days of the filing of the attached request, the Court orders

the stay continued in effect pending, or as a result of, a final hearing pursuant to 11 U.S.C. Section

362(e).



                                                Respectfully submitted,
                                                /s/ Paul T. Saba
                                                Paul T. Saba, Esq. (0063723)
                                                Jeffrey M. Nye, Esq. (0082247)
                                                STAGNARO, SABA & PATTERSON CO., L.P.A.
                                                2623 Erie Avenue
                                                Cincinnati, Ohio 45208
                                                513.533.2703
                                                513.533.2713 (facsimile)
                                                paulsaba@sspfirm.com
                                                Attorneys for Debtor
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served on November 30, 2018 to
the following registered ECF participants, electronically through the court’s ECF System and
ordinary U.S. Mail at the addresses listed below:

 Synchrony Bank                   Barestone, LLC              Kingston Development
 c/o PRA Receivables              105 E 4th Street            Group, LLC
 Management, LLC                  Suite 300                   Buechner Haffer Meyers &
 PO Box 41021                     Cincinnati, OH 45202-4023   Koenig Co., LPA
 Norfolk, VA 23541-1021                                       105 E 4th Street
                                                              Suite 300
                                                              Cincinnati, OH 45202-4023

 1420 Main Street LLC 1431        84 Lumber                   Security Services Inc
 Main Street                      P 0 Box 360343              P 0 Box 551200
 Cincinnati OH 45202-6339         Pittsburgh PA 15250-0001    Jacksonville FL 32255-1200

 Allied Glass                     Asst US Trustee (Cin)       Bair Build Company, LLC
 2036 Reading Road                Office of the US Trustee    1706 John Street
 Cincinnati OH 45202-1484         36 East Seventh Street,     Cincinnati OH 45214-2462
                                  Suite 2030
                                  Cincinnati, Oh 45202

 Bank of America                  Barestone LLC               First Bank of Ohio
 PO Box 982234                    2372 Madison Road           175 S Washington St
 El Paso TX 79998                 Cincinnati OH 45208         Tiffin OH 44883-2843

 Barestone, LLC                   Barron Peck Bennie &        Bethesda Hospital
 c/o Brian Hirsch Agent           Schlemmer                   PO Box 633571
 105 E 4th Street #300            3074 Madison Road           Cincinnati OH 45263
 Cincinnati OH 45202-4023         Cincinnati OH 45209-1723

 Brian Redden                     CB Real Estate              Cavalry SPV
 105 E 4th Street #300            45 Fairfield Ave #4         500 Summit Lake Drive
 Cincinnati OH 45202-4023         Bellevue KY 41073-1149      Valhalla NY 10595-1340

 Chase                            Chip & Diane Denning        Citicards
 PO Box 15153                     1507 Republic Street        P 0 Box 6500
 Wilmington DE 19886-5153         Cincinnati OH 45202-7015    Sioux Falls SD 57117-6500

 Credit Collection Services       D & A Services              DEPE, LLC dba Pella
 725 Canton Street                1400 E Touhy Ave #G2        9869 Montgomery Road
 Norwood MA 02062-2679            Des Plaines IL 60018-3338   Cincinnati OH 45242-6424
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Dale Seif                      David Donnett                David Kamp
110 E Emmitt                   1212 Sycamore #36            1700 4th & Vine Tower
Waverly OH 45690               Cincinnati OH 45202          1 West 4th Street
                                                            Cincinnati OH 45202

Genpact Services, LLC          Home Depot                   Internal Revenue Service
PO Box 1969                    PO Box 790328                P 0 Box 7346
Southgate MI 48195-0969        Saint Louis MO 63179         Philadelphia PA 19101

Josh Loewenstine               Keidel                       Kingston Development
3616 Marburg Ave               1150 Tennessee Ave           Group LLC
Cincinnati OH 45208-1611       Cincinnati OH 45229          2372 Madison Road Unit
                                                            WIC
                                                            Cincinnati OH 45208

Levy & Associates              Lloyd & McDaniel PLC         Louisville Tile
4645 Executive Drive           P 0 Box 23200                3200 E Kemper Road
Columbus OH 43220-3601         Louisville KY 40223          Cincinnati OH 45241

Michael Carter                 Office of District Counsel   Ohio Attorney General 30 E
c/o plaintiff with             312 Elm Street Suite 2350    Broad Street
Barestone                                                   14th Floor
                               Cincinnati OH 45202
5580 Windridge View                                         Columbus OH 43215
Cincinnati OH 45243

Ohio Bureau of Workers         One Advantage                PNC Bank
Compensation                   1232 W State Rd 2            Western Loan Center
Attn: Law Section Bankruptcy   La Porte IN 46350-5469       2730 Liberty Ave Bankruptcy
Unit                                                        Dept Pittsburgh PA 15222-
PO Box 15567                                                4704
Columbus OH 43215-0567

PRA Receivables Management,    Ravdeep & Sonia Chanana Richard Avis
LLC PO Box 41021               234 E 23rd Street #4A New PO Box 31579
Norfolk, VA 23541-1021         York NY 10010-4624        Chicago IL 60631-0579

Santina Vanzant                Schimpf, Ginocchio &         Speedway Super America
8534 E Kemper Road             Kehres                       LLC
Cincinnati OH 45249            36 East 7th Street #2600     P 0 Box 740587
                               Cincinnati OH 45202-4452     Cincinnati OH 45274-0587

State of Ohio                  Sunbelt Rental               Synchrony Bank
Department of Taxation         4631 Spring Grove            PO Box 965004
Attn: Bankruptcy Division      Cincinnati OH 45232          Orlando FL 32896-5004
P 0 Box 530
Columbus OH 43266-0030
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Synchrony Bank (Lowes)        U S Attorney                Union Savings Bank
Attention Bankruptcy Dept     221 East Fourth Street,     8534 E. Kemper Road
PO Box 965060                 Suite 400                   Cincinnati OH 45249-3701
Orlando FL 32896-5060         Cincinnati OH 45202

Valley Insulation             Wells Fargo                 Eileen K Field
5537 OH 128                   PO Box 29482                3991 Hamilton Middletown
Cleves OH 45002               Phoenix AZ 85038-9482       Road, Unit U
                                                          Hamilton, OH 45011

David Weber                   Fifth Third Bank
300 Pike Street #500          38 Fountain Square Plaza
Cincinnati OH 45202-4241      Cincinnati OH 45202



                                       /s/ Paul T. Saba
                                       Paul T. Saba, Esq. (0063723)
